Case 3:06-cr-30039-RGJ-KLH          Document 121        Filed 06/19/07     Page 1 of 7 PageID #:
                                            982



                            UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                                     MONROE DIVISION

 UNITED STATES OF AMERICA                     CRIMINAL ACTION NO. 06-30039-05

 VERSUS                                       JUDGE ROBERT G. JAMES

 AHMED ALI NAGI                               MAG. JUDGE KAREN L. HAYES

                                  MEMORANDUM RULING

        Pending before the Court is Defendant Ahmed Ali Nagi’s (“Nagi”) Motion to Sever

 [Doc. No. 98]. Nagi claims that he is entitled to severance pursuant to Federal Rule of Criminal

 Procedure 8(b) because he was improperly joined as a defendant in this case. Nagi also claims

 that he is entitled to severance pursuant to Federal Rule of Criminal Procedure 14 because a

 joint trial would be prejudicial and prevent the jury from making a reliable judgment about his

 guilt or innocence. The Government filed responses [Doc. Nos. 111 & 118].

        For the following reasons, Nagi’s Motion to Sever is DENIED.

 I.     LAW AND ANALYSIS

        A.      Misjoinder


        Nagi claims that he is entitled to severance because he was improperly joined as a

 defendant. Nagi was indicted along with 17 other individuals for conspiring to sell counterfeit

 goods. Nagi argues that the Indictment does not allege that he personally attempted to sell

 counterfeit goods, and, instead, the Indictment simply alleges that Nagi had a business




                                                 1
Case 3:06-cr-30039-RGJ-KLH            Document 121         Filed 06/19/07       Page 2 of 7 PageID #:
                                              983



 relationship with several Defendants.1

         The Government responds that Nagi is properly charged and joined as a defendant as a

 member of a conspiracy. While the Indictment does not allege that Nagi personally sold any

 counterfeit goods, the Government contends that a conspirator need not actually perform any

 overt act in furtherance of a conspiracy to be charged as a conspirator.

         “Rule 8(b) of the Federal Rules of Criminal Procedure allows for joinder of defendants

 in a single indictment ‘if they are alleged to have participated. . . in the same series of acts or

 transactions constituting an offense or offenses.’” United States v. Valdez, 453 F.3d 252, 261

 (5th Cir. 2006) (quoting Fed. R. Crim. P. 8(b)). “The propriety of joinder will often be assessed

 by looking to the allegations contained in the indictment.” United States v. Tarango, No. 03-

 50810, 2005 U.S. App. LEXIS 2170, at *13 (5th Cir. Feb. 9, 2005) (citing United States v.

 Chagra, 754 F.2d 1186, 1188 (5th Cir. 1985)). “As a general rule, persons indicted together

 should be tried together, especially in conspiracy cases.” Valdez, 453 F.3d at 261 (internal

 citations omitted). “Simply because the indictment does not charge each defendant with active

 participation in each phase of the conspiracy does not constitute misjoinder.” United States v.

 Moser, 123 F.3d 813, 827 (5th Cir. 1997) (internal citations omitted).

         To charge an individual for conspiracy under 18 U.S.C. § 371, the Government need

 only allege that Nagi agreed to pursue an unlawful objective and “that one of the members of


        1
         Nagi also argues that Count 35 of the Indictment, which alleges that Defendant Consuelo
 Sanchez (“Sanchez”) used a false social security number, has no relation to the allegations
 against him. After Nagi’s Motion to Sever was filed, the Government agreed to try Sanchez
 separately for Count 35 [Doc. No. 118]; therefore, this basis for severance is moot.

                                                   2
Case 3:06-cr-30039-RGJ-KLH            Document 121      Filed 06/19/07      Page 3 of 7 PageID #:
                                              984



 the conspiracy performed an overt act to further the conspiracy.” United States v. Mann, 161

 F.3d 840, 847 (5th Cir. 1998) (quoting United States v. Faulkner, 17 F.3d 745, 768 (5th Cir.

 1994)). The Indictment alleges that Nagi and other Defendants agreed to sell counterfeit goods

 (Counts 1-21) and launder money (Counts 22-34); Nagi, through his brother, signed a

 management agreement related to the convenience stores in question; and a number of

 Defendants personally sold counterfeit goods and cashed checks. Therefore, Nagi was properly

 joined in this Indictment as a participant in a conspiracy involving a common series of criminal

 acts. See Valdez, 453 F.3d at 261.

        Accordingly, the Court finds that Nagi was properly joined as a defendant, and his

 Motion to Sever on this basis is DENIED.

        B.        Prejudice

        Nagi claims that he is entitled to severance because a joint trial would be prejudicial and

 prevent the jury from making a reliable judgment about his guilt or innocence. Nagi makes

 several arguments: the defenses offered by Defendants are antagonistic; there is a disparate

 quantitative and qualitative amount of evidence against him compared to his co-defendants; the

 Government seeks to offer inadmissible evidence (as it pertains to him) against a co-defendant;

 the jurors might confuse Defendants’ identities as several Defendants have similar names2; and

 jurors influenced by the events of September 11, 2001, might be prejudiced against Defendants

 with Arabic names.



        2
            For example, three Defendants have “Ahmed” in their names.

                                                 3
Case 3:06-cr-30039-RGJ-KLH           Document 121         Filed 06/19/07       Page 4 of 7 PageID #:
                                             985



        The Government responds that, since Nagi is properly joined as a defendant, there is a

 strong presumption in favor of a joint trial. Nagi has not shown that he has a mutually exclusive

 defense with any Defendant, that jurors will be unable to distinguish Defendants, or that

 prospective jurors may be prejudiced against persons of Arabic descent. Nagi’s argument that

 the evidence against him is de minimis compared to his co-defendants is not a basis for

 severance, especially when the Court can issue a limiting instruction cautioning the jury to

 consider the evidence against each Defendant separately. Further, Nagi’s assertion that

 inadmissible evidence will be offered by the Government is premature as Sanchez’s Motion to

 Suppress [Doc. No. 83] her statement is pending before Magistrate Judge Karen L. Hayes.

        “If a proper initial determination has been made regarding the propriety of joining

 defendants, severance is warranted only ‘if there is a serious risk that a joint trial would

 compromise a specific trial right of one of the defendants, or prevent the jury from making a

 reliable judgment about guilt or innocence.’” Tarango, 2005 U.S. App. LEXIS 2170, at *14

 (quoting Zafiro v. United States, 506 U.S. 534, 539 (1993)); see also Fed. R. Cr. P. 14 (allowing

 severance of properly joined defendants on a showing of prejudice to a defendant or the

 government). “A defendant is not entitled to severance just because it would increase his

 chance of acquittal or because evidence is introduced that is admissible against certain

 defendants.” Burton v. United States, 237 F.3d 490, 495 (5th Cir. 2000). “[E]ven where

 defendants have markedly different degrees of culpability, severance is not always required if

 less drastic measures, such as limiting instructions will suffice to cure the prejudice.” Id. A

 limiting instruction cautioning the jurors to consider the evidence against each defendant


                                                   4
Case 3:06-cr-30039-RGJ-KLH            Document 121         Filed 06/19/07      Page 5 of 7 PageID #:
                                              986



 separately “can decrease the possibility that the jury will improperly transfer proof of guilt from

 one defendant to another.” United States v. Richards, 204 F.3d 177, 194 (5th Cir. 2000) (internal

 quotations omitted).

        Nagi has not shown that there is a serious risk warranting severance. First, “[s]everance

 is not automatically required merely because co-defendants present mutually antagonistic

 defenses.” Id. (internal quotations omitted). Nagi argues that the defenses are “partly

 antagonistic” because each Defendant will allege that s/he did not personally sell counterfeit

 goods or cash checks. [Doc. No. 98, ¶ 4]. However, as explained earlier, the jury does not have

 to find that Nagi personally committed an overt act; therefore, Nagi’s theory of defense, even if

 accepted by the jury, is not irreconcilable with his co-defendants. Id. at 195 (“Defenses are

 antagonistic if they are ‘mutually exclusive or irreconcilable, that is, if the core of one

 defendant’s defense is contradicted by that of a codefendant.’”) (internal quotations omitted).

        Second, “disparity of evidence in a trial involving multiple defendants does not in and of

 itself constitute prejudice,” and Nagi fails to present additional indicia of prejudice. Cf.

 Tarango, 2005 U.S. App. LEXIS 2170, at *20 (The Fifth Circuit upheld the district court’s

 decision to grant a new trial where a co-defendant was tried in abstentia, a disproportionate

 number of witnesses testified against the missing co-defendant, the jury was permitted to hear a

 significant amount of inadmissible evidence (as it pertained to the present defendant), and there

 was little evidence against the present defendant.).

        Third, Nagi contends that the Government plans to introduce inadmissible evidence, but

 has not elaborated on the content or nature of Sanchez’s statement. Therefore, this does not

                                                   5
Case 3:06-cr-30039-RGJ-KLH           Document 121         Filed 06/19/07       Page 6 of 7 PageID #:
                                             987



 constitute a grounds for severance at this time; however, Nagi is afforded the right to re-urge his

 Motion to Sever on this basis following Magistrate Judge Hayes’ ruling on Sanchez’s Motion to

 Suppress. Further, “[s]everance is not required merely because the government introduced

 evidence admissible against certain defendants.” United States v. Moser, 123 F.3d 813, 829 (5th

 Cir. 1997).

        Fourth, although several Defendants have similar and/or unfamiliar names, the Court

 will lessen the risk of confusion by providing the jury with photographs of Defendants and/or a

 seating chart to enable the jurors to keep the defendants separate in their minds. See United

 States v. Posada-Rios, 158 F.3d 832, 863 (5th Cir. 1998) (citing United States v. Ellender, 947

 F.2d 748, 755 (5th Cir. 1991)).

        Finally, Nagi has presented no evidence of individual juror bias against persons of

 Arabic descent nor articulated why a separate trial would minimize such bias. See United States

 v. Greer, 939 F.2d 1076, 1084 (5th Cir. 1991) (Where there was no evidence of individual juror

 bias, the district court properly refused to exclude all minority jurors on the basis of the

 defendants’ white supremacist beliefs.). The Court’s general voir dire questions require jurors

 to reveal any bias or prejudice which would affect their ability to serve as jurors. Nagi is, of

 course, also free to submit fact-specific voir dire questions to determine whether any jurors are

 biased against persons of Arabic descent.

        Accordingly, the Court finds that Nagi has not demonstrated that he would be prejudiced

 by a joint trial, and his Motion to Sever on this basis is DENIED.




                                                   6
Case 3:06-cr-30039-RGJ-KLH        Document 121       Filed 06/19/07     Page 7 of 7 PageID #:
                                          988



 II.   CONCLUSION

       For the reasons set forth in this Court’s ruling, Defendant Ahmed Ali Nagi’s Motion to

 Sever [Doc. No. 98] is DENIED.

       MONROE, LOUISIANA, this 19th day of June, 2007.
